                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 1 of 6




                                   1

                                   2

                                   3                                     UNITED STATES DISTRICT COURT

                                   4                                   NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     IN RE: SOCIAL MEDIA ADOLESCENT                      Case No. 4:22-md-03047-YGR
                                         ADDICTION/PERSONAL INJURY
                                   7
                                         PRODUCTS LIABILITY LITIGATION                       MDL NO. 3047
                                   8
                                                                                             ORDER DENYING DEFENDANTS’ MOTION
                                   9     This Document Relates to:                           TO CERTIFY INTERLOCUTORY APPEAL

                                  10     All Actions
                                                                                             Re: Dkt. No. 473
                                  11

                                  12           Defendants Meta, Google, ByteDance, and Snap 1 move to certify an interlocutory appeal
Northern District of California
 United States District Court




                                  13   of three issues, namely whether: (i) Section 230 of the Communications Decency Act (“CDA”)

                                  14   bars plaintiffs’ claims; (ii) the First Amendment bars plaintiffs’ claims; and (iii) defendants’ social

                                  15   media platforms are “products” for the purposes of plaintiffs’ products liability claims (“Identified

                                  16   Issues”). 2

                                  17           Having carefully considered the briefing and parties’ arguments on January 26, 2024, and

                                  18   for the reasons below, the Court DENIES defendants’ motion. In summary, the motion is, at best,

                                  19   premature. Currently, the Court has scheduled a multi-tracked approach to addressing myriad

                                  20   legal issues between the defendants, both corporate and individual, and three categories of

                                  21   plaintiffs (attorneys general, school districts, and individuals) many of which overlap with the

                                  22   Identified Issues. Certifying an interlocutory appeal at this stage, prior to the conclusion of this

                                  23   motion practice, would provide the Court of Appeals with a partial record of the legal issues,

                                  24
                                               1
                                                For clarity, the primary defendants in this litigation are Alphabet, Inc.; ByteDance, Inc.;
                                  25   Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook
                                       Technologies, LLC (collectively, “Facebook”); Google LLC; Instagram, LLC; Meta Platforms,
                                  26   Inc., Meta Payments, Inc., Meta Technologies, LLC (collectively, “Meta”); TikTok, Inc., TikTok,
                                       LLC, TikTok, Ltd. (collectively, “TikTok”); Snap, Inc. (“Snap”); and YouTube, LLC.
                                  27
                                               2
                                                   See Dkt. No. 473, Defendants’ Motion for Certification of Interlocutory Appeal (“Mot.”)
                                  28
                                       at 1.
                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 2 of 6




                                   1   invite later piecemeal appeals, and disrupt coordination among parallel proceedings.

                                   2          I.      BACKGROUND
                                   3          Courts overseeing multidistrict litigation (“MDLs”) frequently phase motion practice to

                                   4   address efficiently myriad legal issues before proceeding with discovery, and then in parallel.

                                   5   Here, motion to dismiss briefing has been organized into several tracks. To start, defendants filed

                                   6   motions to dismiss the priority claims identified by the plaintiffs. (See Dkt. No. 164, Case

                                   7   Management Order No. 5.) On November 14, 2023, the Court held that certain of those claims

                                   8   were viable (see Dkt. No. 430), opening discovery.

                                   9          On November 21, 2023, the Court established four additional motion to dismiss tracks,

                                  10   covering the remainder of plaintiffs’ claims: (i) the thirty-three 3 state Attorneys General

                                  11   Complaint as well as Claims 7, 8, and 9 of the Individual Plaintiffs’ Master Complaint; (ii) the

                                  12   remaining Individual Plaintiffs Master Complaint claims; (iii) the Local Government and School
Northern District of California
 United States District Court




                                  13   District Plaintiffs’ Master Complaint; and (iv) claims asserted against defendant Mark Zuckerberg

                                  14   in his individual capacity. (See Dkt. No. 451, Case Management Order No. 6 at 2.) These motion

                                  15   to dismiss tracks have varying end dates between January, February, and March of 2024, and not

                                  16   all opening briefs have been filed yet. (See id. at 2–3.)

                                  17          Additionally, two key sets of cases proceed outside of this MDL. First, hundreds of

                                  18   California state cases have been consolidated through California’s Judicial Council Coordination

                                  19   Proceedings (“JCCP”) process before Judge Kuhl in California Superior Court (JCCP No. 5255).

                                  20   Second, eight additional state Attorneys General have filed lawsuits alleging similar state

                                  21   consumer protection law violations against defendant Meta in their state courts: the District of

                                  22   Columbia, Massachusetts, Mississippi, New Hampshire, Oklahoma, Tennessee, Utah, and

                                  23   Vermont. (Dkt. No. 434, Status Update Regarding Plaintiff States’ Leadership at 3.)

                                  24          The instant motion arises from the Court’s 52-page order granting in part and denying in

                                  25   part defendants’ motion to dismiss plaintiffs’ priority claims. (Dkt. No. 430.) On December 12,

                                  26

                                  27          3
                                                 The Court just received notice that the complaint filed by the Montana Attorney General
                                  28   is also being transferred here.

                                                                                          2
                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 3 of 6




                                   1   2023, Defendants moved to certify three questions at issue in the Court’s November 14, 2023,

                                   2   order for interlocutory appeal under 28 U.S.C. § 1292(b):

                                   3                1. Whether Section 230 of the Communications Decency Act, 47 U.S.C. § 230, or the

                                   4                   First Amendment bar claims for failure to warn of an alleged design defect where

                                   5                   claims targeting the same underlying alleged defective design are barred.

                                   6                2. Whether the First Amendment bars claims that Defendants’ services are defective

                                   7                   because they lack “robust age verification” and “effective parental controls.”

                                   8                3. Whether defendants’ services (or certain features of their services) constitute

                                   9                   “products” for purposes of product liability law.

                                  10   (Mot. at 1.)

                                  11          II.      LEGAL STANDARD
                                  12          Under the final judgment rule, the courts of appeal “have jurisdiction of appeals from all
Northern District of California
 United States District Court




                                  13   final decisions of the district courts of the United States.” 28 U.S.C. § 1291. However, section

                                  14   1292(b) permits a federal district court to certify a non-dispositive order for interlocutory review

                                  15   where: (1) the order “involves a controlling question of law,” (2) “as to which there is substantial

                                  16   ground for difference of opinion,” and (3) “an immediate appeal from the order may materially

                                  17   advance the ultimate termination of the litigation.” Ramirez v. Bank of Am., N.A., No. 4:22-CV-

                                  18   00859-YGR, 2023 WL 3149261, at *1 (N.D. Cal. Mar. 27, 2023) (quoting 28 U.S.C. § 1292(b)).

                                  19   Section 1292(b) is a “narrow exception to the final judgment rule,” Couch v. Telescope Inc., 611

                                  20   F.3d 629, 633 (9th Cir. 2010), and the Ninth Circuit has emphasized that section 1292(b) “is to be

                                  21   applied sparingly and only in exceptional cases,” United States v. Woodbury, 263 F.2d 784, 788

                                  22   n.11 (9th Cir. 1959).

                                  23          Further, “Congress chose to confer on district courts first line discretion to allow

                                  24   interlocutory appeals.” Scally v. PetSmart LLC, No. 4:22-cv-06210, 2024 WL 37222, at *1 (N.D.

                                  25   Cal. Jan. 2, 2024) (quoting Swint v. Chambers Cnty Comm’n, 514 U.S. 35, 47 (1995)). Even if all

                                  26   three statutory requirements are met, the district court may still decline to certify an interlocutory

                                  27   appeal. See, e.g., Costar Grp., Inc. v. Com. Real Est. Exch., Inc., No. 20-cv-08819, 2023 WL

                                  28   6783957, at *3 (C.D. Cal. July 20, 2023); Home Depot U.S.A., Inc. v. E.I. DuPont de Nemours &
                                                                                          3
                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 4 of 6




                                   1   Co., No. 16-cv-04865, 2019 WL 6171063, at *1 (N.D. Cal. Nov. 20, 2019).

                                   2           III.   ANALYSIS
                                   3           The Court concentrates its analysis on the third element in the above-referenced test,

                                   4   finding it dispositive of the pending motion (i.e., whether “an immediate appeal from the order

                                   5   may materially advance the ultimate termination of the litigation”). Rather than “materially

                                   6   advance” this litigation, the Court determines an “immediate appeal” would be disruptive to this

                                   7   litigation as well as to coordination efforts external to the MDL.

                                   8           Because the court finds that defendants fail to satisfy their burden to establish the third

                                   9   requirement of section 1292(b), the court declines to address the statute’s first two requirements. 4

                                  10                  A.      Internal Coordination: Individual Plaintiff, State Attorneys General,
                                                              and Local Government and School District Complaints
                                  11
                                               “[T]he ‘materially advance’ prong is satisfied when the resolution of the question ‘may
                                  12
Northern District of California




                                       appreciably shorten the time, effort, or expense of conducting’ the district court proceedings.”
 United States District Court




                                  13
                                       ICTSI Oregon, Inc. v. Int’l Longshore & Warehouse Union, 22 F.4th 1125, 1131 (9th Cir. 2022)
                                  14
                                       (quoting In re Cement Antitrust Litig. (MDL No. 296), 673 F.2d 1020, 1027 (9th Cir. 1981), aff’d
                                  15
                                       sub nom. Arizona v. Ash Grove Cement Co., 459 U.S. 1190 (1983)). This element is best
                                  16
                                       understood by analyzing the impact of certification of an appeal on coordination in this MDL
                                  17
                                       across individual, local government and school district, as well as state Attorneys General
                                  18
                                       plaintiffs.
                                  19
                                               Defendants argue, in relevant part, that the questions raised for certification present
                                  20
                                       threshold issues for numerous cases, such that appellate resolution in defendants’ favor would
                                  21
                                       save months (or even years) of litigation. Plaintiffs disagree claiming the arguments are entirely
                                  22
                                       speculative and substantial litigation would remain in any event. In response, defendants posit that
                                  23
                                       because the Court’s order addressed plaintiffs’ “priority” claims, the remaining claims would
                                  24
                                       likely not survive if the priority claims failed on appeal.
                                  25

                                  26           4
                                               Further, even if defendants had met their burden on all three statutory requirements, the
                                  27   court would decline to certify defendants’ interlocutory appeal as an act of discretion, based on the
                                       case management concerns discussed in this order. See Swint, 514 U.S. at 47; Costar Grp., 2023
                                  28   WL 6783957, at *3.

                                                                                          4
                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 5 of 6




                                   1          Defendants ignore that the Court has yet to rule on the claims of both the state attorneys

                                   2   general and the school districts and the related motions which contain overlapping, but not

                                   3   identical issues. The extent of the overlap is unclear. Defendants’ claim that there is none is

                                   4   disputed. Thus, the Court remains significantly concerned that immediate appellate review would

                                   5   likely lead to piecemeal appeals, compound delays, and increase inefficacies.

                                   6                  B.      External Coordination: Parallel State Proceedings
                                   7          An MDL transferee court’s mandate is to “promote the just and efficient conduct” of the

                                   8   centralized actions “for coordinated or consolidated pretrial proceedings.” 28 U.S.C. § 1407. As

                                   9   part of its discretion in devising strategies to efficiently manage the consolidated litigation, the

                                  10   transferee court may look to coordinate its timeline with state courts handling related litigation.

                                  11   See WRIGHT & MILLER, 15 FED. PRAC. & PROC. JURIS. § 3866 (4th ed.) (“[A] transferee court may

                                  12   coordinate discovery and other pretrial activities with one or more state courts that are handling
Northern District of California
 United States District Court




                                  13   related or overlapping litigation. Such inter-system collaboration is obviously a salutary

                                  14   development.” (footnote omitted)).

                                  15          In ruling on motions to certify interlocutory appeal, transferee courts have noted how an

                                  16   interlocutory appeal could disrupt otherwise aligned schedules in parallel proceedings—thereby

                                  17   creating a missed opportunity for more efficient management of the collective proceedings. See

                                  18   Certain Underwriters at Lloyd’s, London v. ABB Lummus Glob., Inc., No. 03-cv-7248, 2004 WL

                                  19   1286806, at *7 (S.D.N.Y. June 10, 2004) (appeal “would complicate the broader litigation of the

                                  20   Plan because related issues and arguments would be proceeding in different courts on different

                                  21   schedules”); see also Travelers Prop. Cas. Co. of Am. v. Centex Homes, No. 11-cv-03638, 2019

                                  22   WL 285928, at *10 (N.D. Cal. Jan. 22, 2019) (“Given that the pending state court appeal may yet

                                  23   have an impact on the issues before this court, such an interlocutory appeal is premature, and risks

                                  24   undermining the goals of judicial efficiency.”).

                                  25          While the Court does not—and cannot—require strict coordination of cases not before it,

                                  26   the Court is attentive to parallel litigation in state court not consolidated into this MDL and

                                  27   mindful of the potential effect an early interlocutory appeal here may have on those proceedings.

                                  28   For instance, this Court’s schedule currently aligns with that of the JCCP court, which currently
                                                                                          5
                                         Case 4:22-md-03047-YGR Document 590 Filed 02/02/24 Page 6 of 6




                                   1   anticipates setting bellwether trial dates for next year. Similarly, and as referenced, supra, the

                                   2   thirty-three state Attorneys General who filed a joint complaint in this action on October 24, 2023,

                                   3   are coordinating with eight additional state Attorneys General who filed lawsuits alleging similar

                                   4   state consumer protection law violations against defendant Meta in their state courts (Dkt.

                                   5   No. 434, Status Update Regarding Plaintiff States’ Leadership at 3.) While tight coordination may

                                   6   not always be possible, the Court finds it most efficient to maintain this MDL’s current

                                   7   momentum and alignment with the JCCP and other proceedings.

                                   8             IV.    CONCLUSION
                                   9             For the foregoing reasons, the Court DENIES defendants’ motion to certify an interlocutory

                                  10   appeal.

                                  11             This terminates Dkt. No. 473.

                                  12             IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13
                                       Dated: February 2, 2024
                                  14                                                    ______________________________________
                                  15                                                        YVONNE GONZALEZ ROGERS
                                                                                            UNITED STATES DISTRICT JUDGE
                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                         6
